      Case 4:19-cv-00616 Document 7 Filed on 04/02/19 in TXSD Page 1 of 3
                                                                             United States District Court
                                                                               Southern District of Texas
                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                             ENTERED
                            HOUSTON DIVISION                                      April 02, 2019
                                                                               David J. Bradley, Clerk




WELLS FARGO BANK, N.A. fka and successor in interest to WACHOVIA
MORTGAGE CORPORATION

      Plaintiff,
vs.                                                 Case No.: 4:19−cv−00616
                                                    Judge Keith P Ellison

Tina Alexander

      Defendant.

                   NOTICE REGARDING INITIAL CONFERENCE


       This notice is being issued in connection with the above referenced proceeding.
We are currently scheduled for an initial, or scheduling, conference. As a standard
practice in this court, we ask that parties try to agree to dates and deadlines and submit
them in the form of a proposed scheduling order. If the parties are able to reach an
agreement, the Court will dispense with the conference. I am attaching the standard
form scheduling order, which can also be downloaded from the court's website:
www.txs.uscourts.gov.
       In working through the schedule, please keep in mind that trial is normally
scheduled within eighteen months after the case is filed in, or removed to, federal
court. Dispositive motions should be filed three months prior to the trial date. In the
attached proposed scheduling order, we have included specific due dates for dispositive
motions and the joint pretrial order. We have also noted a trial date based on the
guidelines stated above.

       If you return the completed scheduling order one week prior to your scheduled
hearing, the conference will be cancelled. The order should be e−mailed to my Case
Manager, Arturo Rivera at Arturo_Rivera@txs.uscourts.gov. Alternatively, you can fax
it to 713−250−5503.

      Signed on April 2, 2019, at Houston, Texas.
      Case 4:19-cv-00616 Document 7 Filed on 04/02/19 in TXSD Page 2 of 3


                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

WELLS FARGO BANK, N.A. fka and
successor in interest to WACHOVIA
MORTGAGE CORPORATION                          §
                                              §
versus                                        §        Civil Action 4:19−cv−00616
                                              §
Tina Alexander                                §

                 SCHEDULING/DOCKETING CONTROL ORDER

     Anticipated Length of Trial:______Days                Jury:______ Non−Jury:______

1.   (a) NEW PARTIES shall be joined by:                  _______________________
         The Attorney causing the addition of new
         parties will provide copies of this Order to new
         parties.
     (b) AMENDMENT to PLEADINGS
         by Plaintiff or Counter−Plaintiff shall be filed
         by:                                              _______________________

2.   EXPERT WITNESSES for the PLAINTIFF will be
     identified by a report listing the qualifications of
     each expert, each opinion that the expert will
     present, and the basis for it. DUE DATE:                  _______________________

3.   EXPERT WITNESSES for the DEFENDANT will
     be identified by a report listing the qualifications of
     each expert, each opinion that the expert will
     present, and the basis for it. DUE DATE:                  _______________________

4.   DISCOVERY must be completed by:                       _______________________
     Written discovery requests are not timely if they are
     filed so close to this deadline that the recipient
     would not be required under the Federal Rules of
     Civil Procedure to respond until after the deadline.

5.   DISPOSITIVE AND NON−DISPOSITIVE
     MOTIONS
     (except motions in limine) will be filed by:                        3/9/2020
                                                                   (Due 90 days prior to Trial)
       Case 4:19-cv-00616 Document 7 Filed on 04/02/19 in TXSD Page 3 of 3


6.   JOINT PRETRIAL ORDER and MOTIONS IN
     LIMINE will be filed by:                                      6/1/2020
     (The Court will fill in this date)                     (Due the Monday before trial)



7.   TRIAL will begin at 9:00 a.m.                                 6/8/2020
                                                         (15 Months from the date case filed)




Date                                                Keith P. Ellison
                                               United States District Judge




Date                                             Counsel for Plaintiff(s)




Date                                            Counsel for Defendant(s)
